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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

JASON PALTON, ADC #095164                                                                  PLAINTIFF

v.                                    NO. 5:06-CV-198 SWW

STEVEN JACKSON, et al.                                                                 DEFENDANTS


                         ADC DEFENDANTS’ MOTIONS IN LIMINE

        Come now the ADC Defendants Donald Compton, Willie Hampton, Gregg Moore,

Tommy Hurst and Steven Jackson, by and through their attorneys, Attorney General Dustin

McDaniel, Assistant Attorney General Christine A. Boozer and Assistant Attorney General

Shawn J. Johnson, and for their Motions in Limine, state as follows:

1.      References to “Rape” should be excluded and/or disallowed as such references are

        misleading, confusing, and unduly prejudicial.

2.      Alleged evidence of understaffing of ADC should be excluded as it is confusing,

        irrelevant, and has no tendency to support or contradict the matters at issue.

3.      Any recent studies pertaining to prison life should be excluded as they are irrelevant,

        misleading and are inadmissible hearsay.

4.      Evidence regarding the cell doors in Isolation 4 being discovered unlocked should be

        excluded as it is irrelevant and misleading.

5.      Plaintiff’s counsel should be restricted from attempting to show that ADC Defendants

        “retaliated” against Plaintiff as retaliation is not a cause of action in this case.

        WHEREFORE, ADC Defendants pray that the Court grant their Motions in Limine,

exclude the above-mentioned testimony, and grant them all other relief to which they are

entitled.
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                                                      Respectfully submitted,

                                                      Dustin McDaniel
                                                      Attorney General

                                              By:     /s/ Christine A. Cryer
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                                                      Assistant Attorney General
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                                   CERTIFICATE OF SERVICE
        I, Christine A. Cryer, Assistant Attorney General, do hereby certify that on this 3rd day of
July, 2009, I electronically filed the forgoing with the Clerk of Court using the CM/ECF system.
Electronic notification will be sent to the following participant:
       Patrick R. James       pjames@jamesandhouse.com

        I, Christine A. Cryer, Assistant Attorney General, do hereby certify that on this 3rd day of
July, 2009, I mailed a copy of the forgoing to the following non-EM/ECF participant:

       Antonio Remley
       306 E. Boiling Avenue
       Monticello, AR 71655


                                              By:     /s/ Christine A. Cryer
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